Case 1:19-cr-00059-LO Document 240-7 Filed 07/22/21 Page 1 of 5 PageID# 2622




                         EXHIBIT G
Case 1:19-cr-00059-LO Document 240-7 Filed 07/22/21 Page 2 of 5 PageID# 2623




               IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF VIRGINIA

                             Alexandria Division

UNITED STATES OF AMERICA                    )
                                            )    No. 1:19-cr-59
     v.                                     )
                                            )    Hon. Liam O’Grady
DANIEL EVERETTE HALE,                       )
                                            )
     Defendant.                             )


               DECLARATION OF HARRY P. COOPER, JR.


  1. My name is Harry P. Cooper, Jr. From 1988 to 2017, I was employed by the

     Central Intelligence Agency, reaching the rank of SES-3/Flag, which is the

     equivalent of a 2-Star General. In my time at the CIA, I held numerous

     executive-level positions focused on the management of classified and

     controlled unclassified information.

  2. I was the CIA Executive Expert for Classification. The Director of the CIA

     designated me as an Original Classification Authority. That means that I

     trained the Agency’s top-tier executives, including the Director, on

     classification. I also made classification decisions based on my personal

     knowledge and experience rather than using guidance prepared by others.

  3. I also formulated classification policy, prepared classification guides, and

     served as the information security policy architect in the Agency’s new Data

     Office.
Case 1:19-cr-00059-LO Document 240-7 Filed 07/22/21 Page 3 of 5 PageID# 2624




  4. Prior to this role, I was the Senior Agency Official, appointed by the CIA

     Director to implement Presidential Executive Order 13556, which lays out the

     policy for the handling of Controlled Unclassified Information (“CUI”). In that

     capacity, I helped draft the regulations governing CUI.

  5. Positions I held included Chief of Declassification Review and the Group Chief

     for Classification Management.

  6. I hold a top secret security clearance.

  7. I have been engaged by the defense to review the evidence in this case and

     have done so (including the lettered documents that are the subject of the

     Superseding Indictment and that were disclosed by Mr. Hale without

     authorization).

  8. After having carefully reviewed each of the documents supporting the charges

     in this case, it is my opinion, based on my training and experience, that some

     of the documents meet the relatively low bar for classification as “National

     Defense Information.” It is also my opinion, however, that the disclosure of

     these documents, at the time they were disclosed and made public, did not

     present any substantial risk of harm to the United States or to national

     security. I came to this conclusion for three distinct reasons.

  9. First, the vast majority of the information disclosed in this case was tactical in

     nature. Tactical information is information regarding operations and activities

     in the day or days preceding or following such operations. The secrecy of

     tactical information is critical within the first few days of its existence, and




                                          2
Case 1:19-cr-00059-LO Document 240-7 Filed 07/22/21 Page 4 of 5 PageID# 2625




     justifies the use of Top Secret markings at the time of publication. In this case,

     the information was not taken by the defendant until about two years after the

     events reported. Tactical information has a very short shelf-life in terms of its

     ability to harm national security, and the material in this case was exfiltrated

     by the defendant long after its ability to cause substantial harm to national

     security had passed.

  10. Second, my review of the documents revealed that the information disclosed by

     the defendant was largely incremental in nature.           In other words, the

     documents relate to topics on which much was already publicly known, in 2014,

     about the United States’ activities, capabilities and vulnerabilities.       The

     documents contain some granular detail that added to what was already

     known publicly about those topics, but because the information was

     incremental in nature and generally at least two years old by the time the

     documents were released, it is my opinion that their disclosure did not risk

     substantial harm to national security.

  11. Third, it is my opinion that the documents at issue in this case were not only

     out-of-date, but they principally included relatively high-level information.

     Because of that, adversaries would be unlikely to take any particular action in

     response to learning the information in the documents. No technical details of

     weapons systems were revealed, and adversaries would assume that any

     vulnerabilities in United States’ systems discussed in the documents had been




                                         3
Case 1:19-cr-00059-LO Document 240-7 Filed 07/22/21 Page 5 of 5 PageID# 2626




      addressed in the interim, such that knowledge of those vulnerabilities a few

      years after they were reported would be of minimal use to an adversary.

   12. I further understand that the government has alleged that some of the

      documents at issue in this case were published on terrorist websites and/or

      otherwise published by our adversaries. Such publication further supports my

      conclusions, because it suggests that the adversaries treated the documents as

      trophies rather than as something that would give a tactical advantage, given

      that publication would reduce to zero any tactical advantage that the

      documents might otherwise have given. In short, an adversary who has gained

      a tactical advantage by receiving secret information would never publicize

      their possession of it.

                                      *   *     *

I affirm that the contents of this declaration are true and correct to the best of my

knowledge.



________________________
Harry P. Cooper, Jr.


Signed this 19th
            ____ day of July, 2021.




                                          4
